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TO:         All Contracting Activities

FROM:       Sharon James
            Managing Director
            Acquisition Policy Directorate, U.S. Department of State

SUBJECT:    Guidance to Suspend the Pause of Foreign Assistance-Funded
            Acquisitions

1. Introduction: The purpose of the amended Acquisition Alert (AA) is to instruct
   all Contracting Activities to cease all actions to further comply with the
   guidance provided under the initial AA 25-05, Guidance on Pause of Foreign
   Assistance-Funded Acquisitions, or with any other guidance directing the
   termination or suspension of foreign assistance funded contracts.

2. Background: On February 13, 2025, the Court hearing the case of AIDS Vaccine
   Coalition v. U.S. Department of State and Global Health Council v. Trump
   entered a temporary restraining order (TRO) against the Department of State,
   USAID, and OMB. Notification of the TRO was provided to the contractor
   community via a SAM.Gov notice posted on February 14, 2025.

3. Acquisition Impact: In connection with the litigation, Contracting Officers
   (COs) must not take further action to effectuate terminations or suspensions
   (including those pursuant to previously issued guidance) at this time.

4. Action Required: COs must cease further action to pause any new obligations
   or disbursements of foreign assistance funds to contractors (including those
   pursuant to previously issued guidance) at this time. However, COs may
   continue any actions under any exceptions or waivers granted by the Secretary
   of State, including to lift a previously issued suspension, or to certify the
   disbursement of a payment.
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5. Effective Date: This Acquisition Alert is effective upon issuance.

6. Expiration Date: This Acquisition Alert expires when future guidance is issued.

7. Additional Information: Questions regarding this Acquisition Alert may be
   directed to AcquisitionPolicy@state.gov.

8. Attachments: None.

9. Referenced Documents: N/A
